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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
v.                                          :
                                            :      Case No: 21-CR-085 (CRC)
                                            :
JOHN STRAND,                                :
                                            :
      Defendant.                            :


                                  [PROPOSED] ORDER

        Upon consideration of the United States’ Motion for Early Return of Hearing

 Subpoenas Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby ORDERED:

        1. That Domain By Proxy be required to comply with Trial Subpoena No.

           TR20230424101610 by producing records as described in Attachment A to that

           subpoena, a copy of which was appended to the government’s motion;

        2. That Domain By Proxy, in lieu of appearing in court with the requested records,

           may provide them directly to the U.S. Attorney’s Office for the District of

           Columbia on or before May 10, 2023;

        3. That any bank, financial entity, or payment service that receives Trial Subpoena

           No. TR20230424101618 (the “Subpoena 2 Recipient”), so long as Subpoena 2

           Recipient is an entity based in the United States that is within the subpoena power

           of the Court, be required to comply with Trial Subpoena No. TR20230424101618

           by producing records as described in Attachment A to that subpoena, a copy of

           which (without identifying the name of the Subpoena 2 Recipient or the number

           of the requested account) was appended to the government’s motion;

        4. That Subpoena 2 Recipient, in lieu of appearing in court with the requested
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          records, may provide them directly to the U.S. Attorney’s Office for the District

          of Columbia on or before May 24, 2023;

       5. That the United States shall produce any subpoena results received promptly to

          the defendant through the discovery process; and

       6. That the United States may grant either of the entities subpoenaed any requested

          necessary extensions of time to comply with the subpoenas.



SO ORDERED.

Date: _______________________

                                                  ________________________
                                                  CHRISTOPHER R. COOPER
                                                  UNITED STATES DISTRICT JUDGE




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